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    JAN   -S 20d7
                       UNITED STATES DISTRICT COURT
   rloiltAsorRur,gsuo NORTTTERN DISTRTCT OF TI,LTNOIS
cLERKU.g.DlSTflCrCOURr ^vrurr
                                     DTVISION
                                         EASTERT{

   UNITED STATES OF AMERICA

          v-
                                                    )
                                                    )
                                                          No.
                                                                 19CR 014
                                                    )
                                                    )     Violation: fitle 18, United States
   I"ADERICK MURPTIY                                )     Code, Section 922(dG)
                                                                            JT,DGETBTGLLY
                                                          charges:       MAGISIR'ITE JUreE VALBEZ
          The SpECIAL JUNE 2018 GRAND JURY

     .    On or about October !4,20L8,at Chicago, in the Northem District of Illinois,

   Eastern Division,
                                                                  :


                                        I"ADERICK MURPITY,

   defendant herein, having previously been convicted. of a crime puprshable by a             tem

   of imprisonment exceeding. one year, did hrowingly                 possess,   in   and affecting

   interstate commerce, a fiream, namely a Blue Steel SCCY CPX-2 with TR 10 Laser

   sight 9 millimeter. semi-automatic pistol, bearing serial number ll171g5, which
   fi.rearm had traveled in interstate commerce prior to defendant's possession of it;

          Irr violation of   fitle   18, United States Code, Section 922(dO).
      Case: 1:19-cr-00014 Document #: 1 Filed: 01/08/19 Page 2 of 2 PageID #:2




                          FORFEIT[]RE ALLEGATION

  .   The SPECIAL JUNE 20LA GRAI\TD JURY turther alleges:

      1.     Upon conviction of an offense in violation of Title 18, United States

Code, Section 922(g),as set forth in this Indictment, defendant shall forfeit to the

United States of America any firearm and ammunition involved in and used in the

offense, as provided in Title 18, United States Code, Section 924(dX1) and Title 28,

United States Code, Section 246L(c).

      2.     fhe property to be forfeited includes, but is not limited to, Blue   Steel

SCCY CPX-2    with TR 10 Laser sight 9 rnjllimeter semi-automatic pistol, bearing

serial number LLl LgS,and associhted.   am   munition-




                                                A TRUE BILL:



                                                FOREPERSON



UNITED STATES ATTORNEY
